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 2
                                 IN THE UNITED STATES DISTRICT COURT
 3
                                    EASTERN DISTRICT OF CALIFORNIA
 4
 5   UNITED STATES OF AMERICA,                          CASE NO. 1:17-CR-00198 LJO-SKO

 6                                Plaintiff,            ORDER ON GOVERNMENT’S MOTION FOR
                                                        STAY AND APPEAL OF RELEASE ORDER
 7                          v.

 8   CESAR GUTIERREZ,

 9                               Defendants.

10
11          After consideration of the Government’s Motion for Stay and Appeal of the Magistrate Judge’s

12 Release Order,
13          IT IS HEREBY ORDERED that the order of Magistrate Judge Stanley A. Boone dated

14 November 20, 2017, releasing the defendant is hereby stayed until the conclusion of the hearing on the
15 appeal of said order. It is further ordered that the hearing on the matter shall be held on November 27,
16 2017 at 8:15 a.m.
17   IT IS SO ORDERED.

18      Dated:     November 21, 2017                        /s/ Lawrence J. O’Neill _____
19                                               UNITED STATES CHIEF DISTRICT JUDGE

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       ORDER ON MOTION FOR STAY OF RELEASE              1
       ORDER
